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MINUTE ENTRY
MILAZZO, J.
JANUARY 3, 2018

 JS-10: 00:43

                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

HOWARD ANTHONY BROWN ET AL                                CIVIL ACTION

VERSUS                                                     NO. 17-9627

TOM SCHEDLER ET AL                                         SECTION "H"


                                ORAL ARGUMENT


CASE MANAGER: ERIN MOULEDOUS
COURT REPORTER: KAREN IBOS
LAW CLERK: EMMY SCHROETER

APPEARANCES: Howard Anthony Brown, Pro Se plaintiff
             Belden Batiste, Pro Se plaintiff
             Celia R. Cangelosi, for defendant, Tom Schedler
             Christina Berthelot Peck, for defendant, Jeff Landry

Court begins at 9:35 a.m.

The parties make their appearances for the record.

Tom Schedler's MOTION to Dismiss (Rec. Doc. 16) & Jeff Landry's Motion to Dismiss
(Rec. Doc. 18) are argued and taken under submission by the Court.

Court adjourned at 10:18 a.m.



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